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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
v.                                             :         Case No. 21-CR-423 (RC)
                                               :
RICKY C. WILLDEN                               :
                                               :
                       Defendant.              :

                JOINT MOTION TO CONTINUE STATUS CONFERENCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Mr. Willden, through counsel, jointly move the Court to continue

the status conference scheduled for February 17, 2022 to April 27, 2022. The continuance is

requested for several reasons. First, undersigned defense counsel has recently substituted into the

case and requires time to review the discovery in the case. Second, discovery in this matter is

voluminous and disclosure efforts are on-going. Defense counsel is in the process of gaining

access to Relativity, the discovery sharing tool. While Mr. Willden has been provided with the

bulk of evidence related specifically to his case, he awaits discovery from the government

regarding the larger January 6 investigation. Lastly, the government has extended a plea offer,

and the parties are exploring a pre-trial disposition.

       Accordingly, the parties request that this status hearing be continued to a later date. The

parties have consulted with each other, as well as the Court’s Courtroom Deputy, and have selected

April 27, 2022 at 10:00 a.m. as a date and time that might be amenable to the Court’s schedule.

Counsel for the defendant does not oppose this motion and further consents to the exclusion of the

Speedy Trial Act for the reasons stated herein.
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                                          Respectfully submitted,
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                                          Acting United States Attorney
                                          D.C. Bar No. 481052

Date: February 2, 2022                    /s/ Angela N. Buckner
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                                          HEATHER E. WILLIAMS

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                                          Eastern District of California

Date: February 2, 2022                    /s/ Griffin Estes
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